                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN


MICHAEL BROWN,

      Plaintiff,

 v.                                                  Case No. 19-CV-1285

DAVID CLARKE,


      Defendant.


                                      ORDER


      On August 24, 2021, the defendant filed a motion for summary judgment.

(ECF No. 24.) On September 3, 2021, the court issued an order notifying pro se

plaintiff Michael Brown that he had until October 4, 2021 to file a response to the

defendants’ motion for summary judgment. (ECF No. 30.) The court warned Brown

that if he failed to file a response or ask for more time to file a response, the court

would accept all facts asserted by the defendants as undisputed, which would likely

result in summary judgment being granted in the defendants’ favor and the case

being dismissed.

      The October 4, 2021 deadline has passed, and Brown still has not filed a

response. As such, the court will construe the motion as unopposed. The court has

reviewed the defendant’s motion, brief in support, and the undisputed facts, see Fed.

R. Civ. P. 56(e)(2), and concludes that the defendant is entitled to summary




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judgment on the merits. Accordingly, the defendant’s motion is granted, and the

case is dismissed with prejudice.

       IT IS THEREFORE ORDERED that the defendant’s motion for summary

judgment (ECF No. 24) is GRANTED.

       IT IS FURTHER ORDERED that this case is DISMISSED with

prejudice. The Clerk of Court will enter judgment accordingly.

       This order and the judgment to follow are final. A dissatisfied party may

appeal this court’s decision to the Court of Appeals for the Seventh Circuit by filing

in this court a notice of appeal within 30 days of the entry of judgment. See Federal

Rule of Appellate Procedure 3, 4. This court may extend this deadline if a party

timely requests an extension and shows good cause or excusable neglect for not

being able to meet the 30-day deadline. See Federal Rule of Appellate Procedure

4(a)(5)(A).

       Under certain circumstances, a party may ask this court to alter or amend its

judgment under Federal Rule of Civil Procedure 59(e) or ask for relief from

judgment under Federal Rule of Civil Procedure 60(b). Any motion under Federal

Rule of Civil Procedure 59(e) must be filed within 28 days of the entry of judgment.

The court cannot extend this deadline. See Federal Rule of Civil Procedure 6(b)(2).

Any motion under Federal Rule of Civil Procedure 60(b) must be filed within a

reasonable time, generally no more than one year after the entry of the judgment.

The court cannot extend this deadline. See Federal Rule of Civil Procedure 6(b)(2).



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      A party is expected to closely review all applicable rules and determine what,

if any, further action is appropriate.



      Dated at Milwaukee, Wisconsin this 22nd day of October, 2021.


                                             BY THE COURT:



                                             NANCY JOSEPH
                                             United States Magistrate Judge




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